Case 1:10-cv-12184-GAO Document 1-2 Filed 12/17/10 Page 1 of 2

COMMONWEALTH OF MASSACHUSETTS

MIDDLESEX, ss.

JAY STEINMETZ, et al., individually and
on behalf of all others similarly situated,

Plaintiff,
v.

BEAVEX INCORPORATED and
MARK TUCHMANN,

Defendants.

SUPERIOR COURT DEPARTMENT
OF THE TRIAL COURT

Civil Action No. MICV2010-04168-F

NOTICE OF FILING OF NOTICE OF REMOVAL

Pursuant to 28 U.S.C. §§ 1441 and 1446(d), Defendants BeavEx Incorporated and

Mark Tuchmann (collectively, “Defendants”) hereby give notice to the Superior Court of

Middlesex County, Commonwealth of Massachusetts, and to the attorneys for Plaintiff

Jay Steinmetz, that on December 17, 2010, Defendants filed a Notice of Removal,

thereby removing this action to the United States District Court for the District of

Massachusetts. A certified copy of the Notice of Removal is attached to this Notice.
Case 1:10-cv-12184-GAO Document 1-2 Filed 12/17/10 Page 2 of 2

Dated: December 17, 2010

Respectfully submitted,

BEAVEX INCORPORATED and MARK
TUCHMANN,

By CL.
be

Christopher B. Kaczmarek (No. 647085)
Littler Mendelson, P.C.
One International Place, Suite 2700
Boston, MA 02110
617-378-6017 direct
617-378-6000 main
617-507-8046 fax
ckaczmarek@littler.com

CERTIFICATE OF SERVICE

I hereby certify that on this 17" day of December, 2010, a true and accurate copy
of this document, was sent via first class mail, postage prepaid, to all parties of record.

Firmwide:99036691

Christopher B. Kaczmarek

